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         AUTHORIZATION TO DISCLOSE EMPLOYMENT INFORMATION

To:



For informational purposes pertaining to civil litigation, I authorize and request the Custodian of Records
at the above-named entity to disclose to BrownGreer/MRC any and all records containing employment
information, including those that may contain protected health information (PHI) regarding
_________________________[Plaintiff/Injured Party Name]. whether created before or after the date of
signature. Records requested may include, but are not limited to:

        all applications for employment, resumes, records of all positions held, job descriptions of
        positions held, payroll records, W-2 forms and W-4 forms, performance evaluations and
        reports, statements and reports of fellow employees, attendance records, work er's
        compensation files; all hospital, physician, clinic, infirmary, nurse, dental records; test
        results, physical examination records and other medical records; any records pertaining to
        medical or disability claims, or work-related accidents including correspondence, accident
        reports, injury reports and incident reports; insurance claim forms, questionnaires and
        records of payments made; pension records, disability benefit records, and all records
        regarding participation in company-sponsored health, dental, life and disability insurance
        plans; material safety data sheets, chemical inventories, and environmental monitoring
        records and all other employee exposure records pertaining to all positions held; and any
        other records concerning employment with the above-named entity. Copies, NOT
        originals, of all x-rays, CT scans, MRI films, photographs, and any other radiological,
        nuclear medicine, or radiation therapy films and of any corresponding reports. I expressly
        request that all covered entities under HIPAA identified above disclose full and complete
        protected medical information spanning the time period of 10 years prior to
        [___________] (date of alleged injury) to the present.

Because this litigation is ongoing, it is essential that you preserve the original employment records. Please
take all steps that are necessary to preserve the employment records that remain in your possession.

Unless revoked in writing, this authorization shall be valid for the period of litigation in In Re Hair Relaxer,
MDL No. 3060 (N.D. Il.), including any and all transfers and the exhaustion of all appeals. In addition, a
copy of this authorization may be used in place of and with the same force and effect as the original.

NOTICE
  • The individual signing this authorization has the right to revoke this authorization at any
      time, but shall provide a copy of the revocation to BrownGreer/MRC except to the extent that
      the entity has already relied upon this Authorization to disclose protected health information
      (PHI).
  • The individual signing this authorization understands that the covered entity to whom this
      authorization is directed may not condition treatment, payment, enrollment or eligibility
      benefits on whether or not the individual signs the authorization.
  • The individual signing this authorization understands that protected health information
      (PHI) disclosed pursuant to this authorization may be subject to redisclosure by the recipients
      on the terms and conditions set forth in the case management order(s) governing the subject
      lawsuit, and that, in such case, the disclosed PHI no longer will be protected by federal
      privacy regulations.
 Case: 1:23-cv-00818 Document #: 343-2 Filed: 12/19/23 Page 2 of 13 PageID #:5091
I have read the foregoing Authorization and understand that it will permit the entity identified above to
disclose PHI to BrownGreer/MRC.


  Injured Party/Plaintiff or Personal Representative             Name

                                                                 Former/Alias/Maiden Name

                                                                 Date of Birth           Date of Death

                                                                 Social Security Number
  Date

                                                                 Address
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          AUTHORIZATION TO DISCLOSE INSURANCE INFORMATION

To:


For informational purposes pertaining to civil litigation, I authorize and request the Custodian of Records
at the above-named entity to disclose to BrownGreer/MRC any and all records containing insurance
information, including those that may contain protected health information (PHI) regarding
_________________________[Plaintiff/Injured Party Name], whether created before or after the date of
signature. Records requested may include, but are not limited to:

        applications for insurance coverage and renewals; all insurance policies, certificates and
        benefit schedules regarding the insured's coverage, including supplemental coverage;
        health and physical examination records that were reviewed for underwriting purposes, and
        any statements, communications, correspondence, reports, questionnaires, and records
        submitted in connection with applications or renewals for insurance coverage, or claims;
        all physicians', hospital, dental reports, prescriptions, correspondence , test results,
        radiology reports and any other medical records that were submitted for claims review
        purposes; any claim record filed; records of any claim paid; records of all litigation; and
        any other records of any kind concerning or pertaining to the insured. I expressly request
        that all covered entities under HIPAA identified above disclose full and complete protected
        medical information spanning the time period of 10 years prior to
        [___________](date of alleged injury) to the present.

Because this litigation is ongoing, it is essential that you preserve the original insurance records. Please
take all steps that are necessary to preserve the insurance records that remain in your possession.

Unless revoked in writing, this authorization shall be valid for the period of litigatio n in In Re Hair
Relaxer, MDL No. 3060 (N.D. Il.), including any and all transfers and the exhaustion of all appeals. In
addition, a copy of this authorization may be used in place of and with the same force and effect as the
original.

NOTICE
  • The individual signing this authorization has the right to revoke this authorization at any
      time, but shall provide a copy of the revocation to BrownGreer/MRC, except to the extent
      that the entity has already relied upon this Authorization to disclose protected health
      information (PHI).
  • The individual signing this authorization understands that the covered entity to whom this
      authorization is directed may not condition treatment, payment, enrollment or eligibility
      benefits on whether or not the individual signs the authorization.
  • The individual signing this authorization understands that protected health information
      (PHI) disclosed pursuant to this authorization may be subject to redisclosure by the recipients
      on the terms and conditions set forth in the case management order(s) governing the subject
      lawsuit, and that, in such case, the disclosed PHI no longer will be protected by federal
      privacy regulations.
 Case: 1:23-cv-00818 Document #: 343-2 Filed: 12/19/23 Page 4 of 13 PageID #:5093
I have read the foregoing Authorization and understand that it will permit the entity identified above to
disclose PHI to BrownGreer/MRC.



  Injured Party/Plaintiff or Personal Representative             Name

                                                                 Former/Alias/Maiden Name

                                                                 Date of Birth           Date of Death

                                                                 Social Security Number
  Date

                                                                 Address
 Case: 1:23-cv-00818 Document #: 343-2 Filed: 12/19/23 Page 5 of 13 PageID #:5094

                AUTHORIZATION TO DISCLOSE MEDICAL INFORMATION

To:



For informational purposes pertaining to civil litigation, I authorize and request the Custodian of Records
at the above-named entity to disclose to BrownGreer/MRC any and all medical records, including those
that      may        contain       protected          health       information        (PHI)       regarding
_________________________[Plaintiff/Injured Party Name], whether created before or after the date of
signature. Records requested include, but are not limited to:

        all medical records, physician's records, surgeon's records, pathology/cytology reports,
        pathology/cytology specimens, slides, wet tissue, tissue blocks, physicals and histories,
        laboratory reports, operating room records, discharge summaries, progress notes, patient
        intake forms, consultations, prescriptions, prescription profile records, prescription slips,
        medication records, orders for medication, payment records, nurses' notes, birth certificate
        and other vital statistic records, communicable disease testing and treatment records,
        correspondence, orders for medications, therapists’ notes, social worker's records,
        insurance records, treatment pre-certifications, consent for treatment, statements of
        account, itemized bills, payment records invoices and any other papers relating to any
        examination, diagnosis, treatment, periods of hospitalization, or stays of confinement, or
        documents containing information regarding amendment of protected health information
        (PHI) in the medical records. Copies, NOT originals, of all x-rays, CT scans, MRI films,
        photographs, and any other radiological, nuclear medicine, or radiation therapy films and
        of any corresponding reports. I expressly request that all covered entities under HIPAA
        identified above disclose full and complete protected medical information spanning the
        time period of 10 years prior to [___________](date of alleged injury) to the present.

Because this litigation is ongoing, it is essential that you preserve the original medical records, radiology,
pathology/cytology slides, tissue/cell blocks, and any recut slides that are in your possession, as an expert
may need to examine these slides and blocks in the future. Please take all steps that are necessary to preserve
the medical records, radiology films, slides and blocks, and any recut slides that remain in your possession.

This authorization also includes the authority to permit agents or designees of BrownGreer/MRC to
inspect and copy any and all such records.

Unless revoked in writing, this authorization shall be valid for the period of litigation in In Re Hair
Relaxer, MDL No. 3060 (N.D. Il.), including any and all transfers and the exhaustion of all appeals. In
addition, a copy of this authorization may be used in place of and with the same force and effect as the
original.

NOTICE
  • The individual signing this authorization has the right to revoke this authorization at any
      time, but shall provide a copy of the revocation to BrownGreer/MRC, except to the extent
      that the entity has already relied upon this Authorization to disclose protected health
      information (PHI).
  • The individual signing this authorization understands that the covered entity to whom this
      authorization is directed may not condition treatment, payment, enrollment or eligibility
      benefits on whether or not the individual signs the authorization.
  • The individual signing this authorization understands that protected health information
      (PHI) disclosed pursuant to this authorization may be subject to redisclosure by the recipients
      on the terms and conditions set forth in the case management order(s) governing the subject
      lawsuit, and that, in such case, the disclosed PHI no longer will be protected by federal
      privacy regulations.
 Case: 1:23-cv-00818 Document #: 343-2 Filed: 12/19/23 Page 6 of 13 PageID #:5095
I have read the foregoing Authorization and understand that it will permit the entity identified above to
disclose PHI to BrownGreer/MRC.



          Injured Party/Plaintiff or Personal Representative             Name

                                                                         Former/Alias/Maiden Name

                                                                         Date of Birth           Date of Death

                                                                         Social Security Number
          Date

                                                                         Address
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 AUTHORIZATION TO DISCLOSE PSYCHIATRIC RECORDS AND PSYCHOTHERAPY
                        NOTES INFORMATION

To:



For informational purposes pertaining to civil litigation, I authorize and request the Custodian of Records
at the above-named entity to disclose to BrownGreer/MRC any and all psychiatric records and
psychotherapy notes records, including those that may contain protected health information (PHI) regarding
_________________________[Plaintiff/Injured Party Name], whether created before or after the date of
signature. Records requested may include, but are not limited to:

        complete copies of all psychiatric records and psychotherapy notes reports, therapist's
        notes, social worker's records, all medical records, physicians' records, surgeons' records,
        pathology/cytology reports, laboratory reports, discharge summaries, progre ss notes,
        consultations, prescriptions, records of drug abuse and alcohol abuse, physicals and
        histories, nurses' notes, correspondence, insurance records, consent for treatment,
        statements of account, itemized bills, invoices, or any other papers concerning any
        treatment, examination, periods or stays of hospitalization, confinement, diagnosis or other
        information pertaining to and concerning the physical or mental condition of this patient,
        or documents containing information regarding amendment of protected health
        information (PHI) in the medical records. Copies, NOT originals, of all x-rays, CT scans,
        MRI films, photographs, and any other radiological, nuclear medicine, or radiation therapy
        films and of any corresponding reports. I expressly request that all covered entities under
        HIPAA identified above disclose full and complete protected medical information
        spanning the time period of 10 years prior to [___________] (date of alleged injury) to
        the present.

Because this litigation is ongoing, it is essential that you preserve the original medical records, radiology,
pathology/cytology slides, tissue/cell blocks, and any recut slides that are in your possession, as an expert
may need to examine these slides and blocks in the future. Please take all steps that are necessary to preserve
the medical records, radiology films, slides and blocks, and any recut slides that remain in your possession.

I do not authorize any ex parte verbal/oral communication concerning the subject mater of this
authorization.

Unless revoked in writing, this authorization shall be valid for the period of litigation in In Re Hair
Relaxer, MDL No. 3060 (N.D. Il.), including any and all transfers and the exhaustion of all appeals. In
addition, a copy of this authorization may be used in place of and with the same force and effect as the
original.

NOTICE
  • The individual signing this authorization has the right to revoke this authorization at any
      time, but shall provide a copy of the revocation to BrownGreer/MRC, except to the extent
      that the entity has already relied upon this Authorization to disclose protected health
      information (PHI).
  • The individual signing this authorization understands that the covered entity to whom this
      authorization is directed may not condition treatment, payment, enrollment or eligibility
      benefits on whether or not the individual signs the authorization.
  • The individual signing this authorization understands that protected health information
      (PHI) disclosed pursuant to this authorization may be subject to redisclosure by the recipients
      on the terms and conditions set forth in the case management order(s) governing the subject
      lawsuit, and that, in such case, the disclosed PHI no longer will be protected by federal
      privacy regulations.
 Case: 1:23-cv-00818 Document #: 343-2 Filed: 12/19/23 Page 8 of 13 PageID #:5097
I have read the foregoing Authorization and understand that it will permit the entity identified above to
disclose my PHI, including psychiatric records and psychotherapy notes records and information, to
BrownGreer/MRC. I further understand that records pertaining to psychiatric records and psychotherapy
notes information may be specifically protected by federal and/or state regulations; by signing this
authorization I am allowing the disclosure of any psychiatric records and psychotherapy notes information
held by the entity identified above.



          Injured Party/Plaintiff or Personal Representative             Name

                                                                         Former/Alias/Maiden Name

                                                                         Date of Birth           Date of Death

                                                                         Social Security Number
          Date

                                                                         Address
 Case: 1:23-cv-00818 Document #: 343-2 Filed: 12/19/23 Page 9 of 13 PageID #:5098
                AUTHORIZATION TO DISCLOSE PSYCHOTHERAPY NOTES

To:



For informational purposes pertaining to civil litigation, I authorize and request the Custodian of Records
at the above-named entity to disclose to BrownGreer/MRC any and all psychiatric records and
psychotherapy notes, including those that may contain protected health information (PHI) regarding
_________________________[Plaintiff/Injured Party Name], whether created before or after the date of
signature. Records requested may include, but are not limited to:

        complete copies of all psychiatric records and psychotherapy notes as defined by HIPAA
        45 C.F.R. 164.501: psychotherapy notes means notes recorded (in any medium) by a health
        care provider who is a mental health professional documenting or analyzing the co ntents
        of conversations during a private counseling session or a group, joint, or family counseling
        session and that are separated from the rest of the individual’s medical record. I expressly
        request that all covered entities under HIPAA identified above disclose full and complete
        protected medical information spanning the time period of 10 years prior to
        [___________](date of alleged injury) to the present.

Because this litigation is ongoing, it is essential that you preserve the original medical records, radiology,
pathology/cytology slides, tissue/cell blocks, and any recut slides that are in your possession, as an expert
may need to examine these slides and blocks in the future. Please take all steps that are necessary to preserve
the medical records, radiology films, slides and blocks, and any recut slides that remain in your possession.

I do not authorize any ex parte verbal/oral communication concerning the subject mater of this
authorization.

Unless revoked in writing, this authorization shall be valid for the period of litigation in In Re Hair
Relaxer, MDL No. 3060 (N.D. Il.), including any and all transfers and the exhaustion of all appeals. In
addition, a copy of this authorization may be used in place of and with the same force and effect as the
original.

NOTICE
  • The individual signing this authorization has the right to revoke this authorization at any
      time, but shall provide a copy of the revocation to BrownGreer/MRC, except to the extent
      that the entity has already relied upon this Authorization to disclose protected health
      information (PHI).
  • The individual signing this authorization understands that the covered entity to whom this
      authorization is directed may not condition treatment, payment, enrollment or eligibility
      benefits on whether or not the individual signs the authorization.
  • The individual signing this authorization understands that protected health information
      (PHI) disclosed pursuant to this authorization may be subject to redisclosure by the recipients
      on the terms and conditions set forth in the case management order(s) governing the subject
      lawsuit, and that, in such case, the disclosed PHI no longer will be protected by federal
      privacy regulations.
Case: 1:23-cv-00818 Document #: 343-2 Filed: 12/19/23 Page 10 of 13 PageID #:5099
I have read the foregoing Authorization and understand that it will permit the entity identified above to
disclose my PHI, including psychiatric records and psychotherapy notes, to BrownGreer/MRC. I further
understand that records pertaining to the psychiatric records and psychotherapy notes may be specifically
protected by federal and/or state regulations; by signing this authorization I am allowing the disclosure of
any psychiatric records and psychotherapy notes held by the entity identified above.



          Injured Party/Plaintiff or Personal Representative               Name

                                                                           Former/Alias/Maiden Name

                                                                           Date of Birth            Date of Death

                                                                           Social Security Number
          Date

                                                                           Address
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             AUTHORIZATION TO DISCLOSE TAX RETURNS INFORMATION

To:




For informational purposes pertaining to civil litigation, I authorize and request the Custodian of Records
at the above-named entity to disclose to BrownGreer/MRC any and all records containing Tax
information, regarding _________________________[Plaintiff/Injured Party Name], whether created
before or after the date of signature. Records requested may include, but are not limited to:

        all tax returns, attachments to tax returns, forms, schedules, correspondence, and any
        statements, communications, reports, questionnaires, and records submitted, and any and
        all other documents and writings of any kind for the time period of 10 years prior to
        [___________](date of alleged injury) to the present.

This authorization is continuing in nature and is to be given full force and effect to release any and all of
the foregoing information learned or determined after the date hereof.

You are hereby released from any and all liability in connection with the disclosure of records, documents,
writings and physical evidence to the above firms. A copy of this authorization may be used in place of
and with the same force and effect as the original. This authorization expires one year after it is signed.



          Injured Party/Plaintiff or Personal Representative                Name

                                                                            Former/Alias/Maiden Name

                                                                            Date of Birth            Date of Death

                                                                            Social Security Number
          Date

                                                                            Address
Case: 1:23-cv-00818 Document #: 343-2 Filed: 12/19/23 Page 12 of 13 PageID #:5101
      AUTHORIZATION TO DISCLOSE WORKERS' COMPENSATION INFORMATION

To:




For informational purposes pertaining to civil litigation, I authorize and request the Custodian of Records
at the above-named entity to disclose to BrownGreer/MRC any and all records containing Workers’
Compensation information, including those that may contain protected health information (PHI) regarding
_________________________[Plaintiff/Injured Party Name], whether created before or after the date of
signature. Records requested may include, but are not limited to:

        all workers' compensation claims, including claim petitions, judgments, findings, notices
        of hearings, hearing records, transcripts, decisions and orders; all depositions and reports
        of witnesses and expert witnesses; employer's accident reports; all other accident, injury,
        or incident reports; all medical records; records of compensation payment made;
        investigatory reports and records; applications for employment; records of all positions
        held; job descriptions of any positions held; salary records; performance evaluations and
        reports; statements and comments of fellow employees; attendance records; all physicians',
        hospital, medical, health reports; physical examinations; records relating to health or
        disability insurance claims, including correspondence, reports, claim forms,
        questionnaires, records of payments made to physicians, hospitals, and health institutions
        or professionals; statements of account, itemized bills or invoices; and any other records
        relating to the above-named individual. Copies, NOT originals, of all x-rays, CT scans,
        MRI films, photographs, and any other radiological, nuclear medicine, or radiation therapy
        films and of any corresponding reports. I expressly request that all covered entities under
        HIPAA identified above disclose full and complete protected medical information
        spanning the time period of 10 years prior to [___________](date of alleged injury) to the
        present.

Because this litigation is ongoing, it is essential that you preserve the original workers’ compensation
records. Please take all steps that are necessary to preserve the workers’ compensation records that remain
in your possession.

Unless revoked in writing, this authorization shall be valid for the period of litigation in In Re Hair
Relaxer, MDL No. 3060 (N.D. Il.), including any and all transfers and the exhaustion of all appeals. In
addition, a copy of this authorization may be used in place of and with the same force and effect as the
original.

NOTICE
  • The individual signing this authorization has the right to revoke this authorization at any
      time, but shall provide a copy of the revocation to BrownGreer/MRC, except to the extent
      that the entity has already relied upon this Authorization to disclose protected health
      information (PHI).
  • The individual signing this authorization understands that the covered entity to whom this
      authorization is directed may not condition treatment, payment, enrollment or eligibility
      benefits on whether or not the individual signs the authorization.
  • The individual signing this authorization understands that protected health information
      (PHI) disclosed pursuant to this authorization may be subject to redisclosure by the recipients
      on the terms and conditions set forth in the case management order(s) governing the subject
      lawsuit, and that, in such case, the disclosed PHI no longer will be protected by federal
      privacy regulations.
Case: 1:23-cv-00818 Document #: 343-2 Filed: 12/19/23 Page 13 of 13 PageID #:5102
I have read the foregoing Authorization and understand that it will permit the entity identified above to
disclose PHI to BrownGreer/MRC.



          Injured Party/Plaintiff or Personal Representative             Name

                                                                         Former/Alias/Maiden Name

                                                                         Date of Birth           Date of Death

                                                                         Social Security Number
          Date

                                                                         Address
